
GIFFEN, J.
The original action was commenced for the partition of certain real estate, and comes into this court for alleged errors in overruling a motion to retax costs and in refusing to hear testimony in support of the motion.
1st. The court allowed the commissioners twenty-five dollars each. The statute provides for an allowance of one dollar per day. There being nothing in the record showing that they served more than one day, the excess was erroneously taxed a&amp; costs.
2d. An auctioneer was allowed $476 as compensation for his services, and the sum of $83 was expended and allowed for special advertising. The authority for these expenses is appended to the entry ordering a sale of the premises and is as follows: “And that the sheriff is authorized to employ a competent auctioneer and to expend a sum not exceeding $100 for-advertising in addition to the legal advertising.”
It does not appear that this order was made for good cause-shown, or that any cf the. parties other than the plaintiff had any rotiee of the motion therefor.
In the case of Ingham v. Lindemann, 37 Ohio St., 218, the fourth proposition of the syllabus is as follows:
“No allowance should be made to such assignee for the expense of employing an auctioneer, unless the court directing the sale is of the opinion, under the circumstances, that the services of an auctioneer were neoessary. ”
At page 221 it is said:
“The presumption is that every one charged, by law, witfr the performance of a duty, is capable of performing the same.”'
This presumption is even stronger in the case of a sheriff,, who is not only, by law, charged with the duty, but from experience is fully competent to conduct a sale.
Ihe plaintiffs in error offered to prove that they had no notice of the above order, and did not consent thereto or the expenditure thereunder, and the court refused. This was clearly erroneous,
Whether the parties, having subsequent notice and having received the benefits, are now estopped from resisting payment, we do not decide, as the record does not sufficiently disclose, the facts.
3d. Plaintiffs in error moved the court to allow. to their counsel a part of the attorney fee taxed as costs, for the reason that he had rendered valuable services in the cause for the-common benefit of all parties. It appears that be filed a demurrer to the petition on the ground of defeot of parties defendant, and that afterwards new parties were made. The* court declined to hear evidence in support of the motion, anú we think erroneously.
Kfilley &amp; Hauck and Tugman &amp; Baker, for Plaintiffs in Error.
A. H. Bode, contra.
4th. The guardian ad litem was regularly and legally appointed, and we do not think the allowance for his services should be disturbed, Unless some good reason is shown on a rehearing of the motion.
Judgment reversed and cause remanded.
